Case 1:20-cv-00583-JTN-RSK ECF No. 78, PageID.496 Filed 05/25/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 BRETT MICHAEL PEPPER,
 as next friend of M.P., a minor,

         Plaintiff,                                                    Case No. 1:20-cv-583

 v.                                                                    HON. JANET T. NEFF

 EDWARDSBURG PUBLIC SCHOOLS, et al.,

         Defendants.
 ____________________________/


                                              ORDER

       The matter is before the Court on the parties’ Joint Motion for Approval of Settlement

Agreements (ECF No. 73). Because the settlement involves a minor, the Court must make an

independent determination whether the settlement is in the minor’s best interest. See Green v.

Nevers, 111 F.3d 1295, 1301 (6th Cir. 1997). On today’s date, the Court held a hearing on the

Joint Motion. Having reviewed the proposed settlement agreements and being fully advised in the

premises, the Court finds that the settlement agreements are fair, reasonable, and in the best interest

of the minor, M.P.

       Therefore,

       IT IS HEREBY ORDERED that the Joint Motion for Approval of Settlement Agreements

(ECF No. 73) is GRANTED.

       IT IS FURTHER ORDERED that the settlement agreement between Plaintiff and

Defendants Edwardsburg Public School, Katie VanBelle, and Ryan Markel is APPROVED.
Case 1:20-cv-00583-JTN-RSK ECF No. 78, PageID.497 Filed 05/25/22 Page 2 of 2




       IT IS FURTHER ORDERED that the settlement agreement between Plaintiff and

Defendants Cody Adkins and Dwayne Adkin is APPROVED.

       IT IS FURTHER ORDERED the settlement payments to M.P. shall be temporarily held

in Plaintiff’s attorneys’ IOLTA trust account, pending M.P. reaching 18 years of age on June 27,

2022, at which time Plaintiff’s attorneys shall disburse the settlement payments to M.P.

       IT IS FURTHER ORDERED that this case shall be DISMISSED with prejudice as to

all Defendants.

       This is a Final Order and closes the case.



Dated: May 25, 2022                                           /s/ Janet T. Neff
                                                            JANET T. NEFF
                                                            United States District Judge
